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                         IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                  SEATTLE DIVISION

 In re Subpoena Issued to                           §
                                                                      Misc. No. 2:22-mc-00069-RSL
 Dave’s Redistricting App,                          §

 REPRESENTATIVE JACEY JETTON and                    §
 ADAM FOLTZ,                                        §
                                                    §
 Movants,                                           §
                                                    §
 V.                                                 §
                                                    §
 UNITED STATES OF AMERICA,                          §
                                                    §
 Respondent.                                        §


                             DECLARATION OF JACEY JETTON

         I, Jacey Jetton, having personal knowledge of the facts stated herein, declare as follows:

      1. I am a member of the Texas House of Representatives and represent the 26 th House District.

I was first elected in November 2020 and assumed office in January 2021.

      2. As a member of the Texas House of Representative, I was assigned to the House Redistricting

Committee for the 87th Legislature.

      3. My role as a Committee Member of the Texas House Redistricting Committee required me to

analyze and draft redistricting legislation. Pursuant to that role, I utilized Dave’s Redistricting app for

a legislative purpose while performing my official duties as a Member of the Redistricting Committee.

I did not use Dave’s Redistricting in any capacity other than my role as member of the Redistricting

Committee or of the Texas House of Representatives.

      4. As a member of the Texas House of Representatives, the Texas Legislative Council issued me

an account to use the State of Texas redistricting application, “RedAppl.” I used this account in
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furtherance of my legislative duties relating to the redistricting process. However, the RedAppl

accounts were not ready for use at the beginning of the 2021 Redistricting process.

    5. I used Dave’s Redistricting App until my RedAppl account was available. I then ceased using

Dave’s.

    6. There are no documents or information of mine that are available to Dave’s Redistricting app

that have not already been produced or logged as privileged in response to the subpoena for

documents I received from the United States.

    7. It is my understanding that the unique account I created on Dave’s Redistricting is only

accessible to myself. As such, the materials within the account are not public. I created my Dave’s

account with the understanding that I would be the only person with access to the materials therein.

    8. It is my understanding that my personal data and usage data on Dave’s Redistricting can be

accessed by the company in order to contact me or to maintain the functionality of the website. It is

my understanding, however, that this data is otherwise within my sole possession, custody, and

control.

    9. I intend to assert the legislative privilege over any content I created or stored on Dave’s

Redistricting app. Additionally, it is my understanding that I retain ownership rights to any content I

create on Dave’s Redistricting. The data I created on Dave’s Redistricting incorporates my thoughts

and impressions on redistricting legislation drafted during the 87th Texas Legislature.


I declare under penalty of perjury under the laws of the United States of America that to the best of
my knowledge the foregoing is true and correct.

Executed on August 11, 2022                                     ______________________
                                                                Jacey Jetton
